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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                   :         Criminal No. 1:21-CR-00618
                                           :
             v.                            :         (Judge Berman Jackson)
                                           :
RILEY JUNE WILLIAMS                        :         (Electronically Filed)


             MOTION TO AMEND CONDITIONS OF RELEASE


      AND NOW comes the Defendant, Riley June Williams, by her attorneys,

Lori J. Ulrich, Trial Chief, Assistant Federal Public Defender, and A.J. Kramer,

Federal Public Defender, and files the following Motion to Amend Conditions of

Release. In support thereof, it is averred as follows:

1.    By criminal complaint filed January 17, 2021, Riley June Williams was

charged with knowingly entering or remaining in any restricted building or

grounds without lawful authority, in violation of 18 U.S.C. § 1752(a)(1) and

violent entry and disorderly conduct on Capitol grounds, in violation of 40 U.S.C.

§ 5104(e)(2).

2.    On January 19, 2021, an amended criminal complaint was filed adding the

additional charges of aiding and abetting others to, embezzle, steal, purloin, in

violation of 18 U.S.C §§ 641, 2, and obstructing, influencing, or impeding any

official proceeding, in violation of 18 U.S.C. § 1512(c)(2).
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3.    On January 21, 2021, a corrected amended criminal complaint was filed

adding the charge of knowingly entering or remaining in any restricted building or

grounds without lawful entry, in violation of 18 U.S.C.1752(a)(2).

4.    On January 27, 2021, following two days of hearings before United States

Magistrate Judge Zia M. Faruqui, Ms. Williams was released with conditions.

Among these conditions, Ms. Williams was placed on location monitoring and

home detention. Ms. Williams is restricted to her residence at all times, except for

employment; education; religious services; medical, substance abuse, or mental

health treatment; attorney visits; court appearances; court-ordered obligations; or

other activities approved in advance by the pretrial services office or supervising

officer. See Doc. 29, Order Setting Conditions of Release.

5.    On October 6, 2021, a grand jury returned an indictment against Ms.

Williams, charging her with civil disorder, in violation of 18 U.S.C. § 231(a)(3)

(Count 1); obstruction of an official proceeding, in violation of 18 U.S.C. §§

1512(c)(2) and 2 (Count 2); assaulting, resisting, or impeding certain officers, in

violation of 18 U.S.C. § 111(a)(1) (Count 3); theft of government property, in

violation of 18 U.S.C. § 641 and 2 (Count 4); entering and remaining in a restricted

building or grounds, in violation of 18 U.S.C. § 1752(a)(1) (Count 5); disorderly

and disruptive conduct in a restricting building or grounds, in violation of 18

U.S.C. § 1752(a)(2) (Count 6); disorderly conduct in a Capitol building, in
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violation of 40 U.S.C. § 5104(e)(2)(D) (Count 7); and parading, demonstrating or

picketing in a Capitol building, in violation of 40 U.S.C. § 5104(e)(2)(G) (Count

8). (Doc. 27, Indictment).

6.    On October 18, 2021, Ms. Williams appeared, via videolink, before this

Honorable Court and entered a plea of not guilty to the Indictment. At the

arraignment, the Court ordered that Ms. Williams’ previous conditions of release

would remain in place.

7.    Ms. Williams has been on home detention since January 21, 2021, over

sixteen (16) months.

8.    Ms. Williams has been in compliance with her conditions of pretrial release

during this period and has had no documented violations. See Pretrial Compliance

Reports (Docs. 22, 26, 30 and 44).

9.    Ms. Williams currently resides with her mother and third-party custodian,

Wendy Williams.

10.   Ms. Williams is currently employed full-time at a nursery in the Middle

District of Pennsylvania.

11.   Ms. Williams currently participates in mental health counseling and has

become a member of a local Baptist church.

12.   Ms. Williams now moves this Court to amend her conditions of release.

Specifically, Ms. Williams requests that the Court remove the condition of home
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detention and location monitoring from her conditions of release as they are unduly

burdensome and overly restrictive.

13.    Assistant United States Attorneys Maria Y. Fedor and Joseph Hong Huynh,

Esquire oppose this request.

      WHEREFORE, the defendant, Riley June Williams, respectfully requests

that this Honorable Court grant the Motion to Amend Conditions of Release and

remove home detention and location monitoring as a condition of Ms. Williams’

pretrial release.

                                           Respectfully submitted,
Date: May 27, 2022
                                            /s/ Lori J. Ulrich
                                            LORI J. ULRICH, ESQUIRE
                                            Assistant Federal Public Defender
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                         CERTIFICATE OF SERVICE

      I, Lori J. Ulrich, Esquire, of the Federal Public Defender’s Office, do hereby

certify that I served a copy of the foregoing Motion to Amend Conditions of

Release via Electronic Case Filing, and/or by placing a copy in the United States

mail, first class in Harrisburg, Pennsylvania, and/or by hand delivery, addressed to

the following:

      Maria Y. Fedor, Esquire
      Assistant United States Attorney
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      Joseph Hong Huynh, Esquire
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      RILEY JUNE WILLIAMS



Date: May 27, 2022                           /s/ Lori J. Ulrich
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                                           :
RILEY JUNE WILLIAMS                        :         (Electronically Filed)



                                       ORDER


   AND NOW this ______ day of _____________, 2022, after consideration of

the Motion to Amend Conditions of Release, IT IS HEREBY ORDERED that the

Motion is GRANTED. The conditions of home confinement and electronic

location monitoring are removed from Ms. Williams’ conditions of pretrial release.

All other conditions of release shall remain in full force and effect.



                                               BY THE COURT


                                               ________________________
                                               AMY BERMAN JACKSON
                                               United States District Judge
